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 5   Attorneys for Plaintiffs

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 7

 8                                 UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10   HOWARD CHANG; et al.,                               )   Case No. CV 11-02619 JSW
                                                         )
11                  Plaintiffs,                          )
                                                         )
12          v.                                           )   STIPULATION OF DISMISSAL WITH
                                                         )   PREJUDICE AND [PROPOSED]
13   LECG CORPORATION DEFERRED                           )   ORDER
     COMPENSATION PLAN FOR EMPLOYEES, et                 )
14   al.                                                 )
                                                         )
15                  Defendants.                          )
           and                                           )
16                                                       )
     WILMINGTON TRUST, an interested party.              )
17                                                       )

18          IT IS HEREBY JOINTLY STIPULATED AND AGREED by Howard Chang; David
19   Evans; Michael Flynn; Jeanne Gee; William Hengemihle; Daniel Kasper; Henry Kahwaty;
20   Patrick Kilbourne; Neal Lawson; David Ownby; Dan Regard; Jose A. Santana; Richard
21   Schmalensee; Patricia Shore; Bernard Siskin; Gregory Thaler; Edward Westerman; Peter
22   Wrobel and Robert Yerman (“Plaintiffs”); and LECG Corporation Deferred Compensation Plan
23   for Employees; LECG Corporation Deferred Compensation Plan For Independent Contractors;
24   LECG Corporation Deferred Compensation Plan For Employees Plan Committee; LECG
25   Corporation Deferred Compensation Plan For Independent Contractors Plan Committee; LECG,
26   LLC; LECG Corporation; Steven Samek and Warren Barratt; (collectively, the “LECG Parties”);
27   and Great Hill Investors, LLC; Great Hill Equity Partners III, LP; Great Hill Partners GP III, LP;
28   GHP III, LLC; Christopher S. Gaffney; John G. Hayes and Matthew T. Vettel (collectively, the

                                                     1
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 1   “Great Hill Parties”) (all collectively, the “Parties”), by and through their respective counsel of

 2   record, that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii):

 3          1.     All claims against all parties to the above-captioned action are hereby dismissed

 4   with prejudice. Specifically, Plaintiffs hereby dismiss with prejudice their lawsuit against the

 5   LECG Parties and the Great Hill Parties in the United States District Court for the Northern

 6   District of California in this case known as, Chang v. LECG Corporation Deferred

 7   Compensation Plan for Employees, Case No. 11-cv-2619-JSW, alleging violations of the

 8   Employee Retirement Income Security Act, 29 U.S.C. § 1001, et seq (“ERISA”) with respect

 9   to the Plaintiffs’ participation in the LECG Corporation Deferred Compensation Plan for

10   Employees and the LECG Corporation Deferred Compensation Plan For Independent Contractors

11   (the “Plans”), breaches of contract and fiduciary duties, and other claims.

12          2.     Each party shall bear its own attorneys’ fees and costs.

13          3.     This matter is concluded in its entirety and shall be dismissed.

14          4.     Execution and filing of this Stipulation of Dismissal with Prejudice and

15   [Proposed] Order by counsel for all parties constitutes a dismissal of this lawsuit, with

16   prejudice, effective upon entry by the Court, pursuant to Federal Rule of Civil Procedure

17   41(a)(1)(A)(ii). Any and all remaining issues are waived.

18                                               Respectfully submitted,

19   Dated: February 21, 2013                            /s/ James P. Baker
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23                                               Attorneys for Plaintiffs
                                                          -and-
24

25   Dated: February 21, 2013                            /s/ Jeffrey D. Polsky
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 6                                         LECG Corporation Deferred Compensation Plan for
                                           Employees, LECG Corporation Deferred
 7                                         Compensation Plan for Employees Plan Committee,
                                           LECG Corporation Deferred Compensation Plan for
 8                                         Independent Contractors, LECG Corporation Deferred
                                           Compensation Plan for Independent Contractors Plan
 9                                         Committee, Steven Samek, and Warren Barratt

10                                                  -and-

11
     Dated: February 21, 2013                      /s/ Erica Kristen Rocush
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                                           Equity Partners III, LP, Great Hill Partners GP III, LP,
21                                         GHP III, LLC, Christopher S. Gaffney, John G. Hayes,
                                           and Matthew T. Vettel
22

23   PURSUANT TO THIS STIPULATION, IT IS SO ORDERED:

24
             February 21, 2013
     Dated: _____________
25                                                     Hon. Jeffrey S. White
                                                       United States District Judge
26

27

28

                                                3
                  STIPULATION OF DISMISSAL WITH PREJUDICE AND [PROPOSED] ORDER
